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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DMSION


UNITED STATES OF AMERICA,                       )
                                                )
               Plaintiff,                       )
                                                )
       V.                                       )           No. 4:16-CR-106 RLW
                                                )
JAMES BOWEN,                                    )
                                                )
               Defendant.                       )

                                            ORDER

       Pending before the Court are Defendant James Bowen's prose motions for appointment of

counsel, for extension of time, and for expedited consideration of his motion for compassionate

release. Also before the Court is the United Sates' motion to strike Defendant's prose filings.

       Defendant James Bowen filed a pro se motion for compassionate release under the First

Step Act, 18 U.S.C. § 3582(c). Since that time, Defendant was appointed counsel, who moved

for an extension of time to file a supplemental motion. Defense counsel's motion was granted,

and defense counsel has until February 23, 2021, to file a supplemental motion for compassionate

release. The Court, therefore, will deny as moot Defendant's pro se motions for appointment of

counsel and for extension of time.

       As for Defendant's pro se motion for expedited consideration of his motion for

compassionate release, Defendant states in his motion that he has been diagnosed with advanced

stage lung cancer, and he seeks expedited review.      The Court will deny, without prejudice,

Defendant's pro se motion for expedited consideration of his motion for compassionate release.

That said, considering the seriousness of Defendant's account as to his medical condition, the

Court will shorten the time for the government to respond to Defendant's supplemental motion.
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       Also before the Court is the government's motion to strike Defendant's prose flings. The

Court will not grant this motion at time .. However, Defendant Bowen is represented by counsel,

and therefore he should generally communicate with the Court through his counsel. "There is no

constitutional or statutory right to simultaneously proceed pro se and with benefit of counsel."

United States v. Agofsky, 20 F.3d 866, 872 (8th Cir.), cert. denied, 513 U.S. 909 (1994). "A

district court has no obligation to entertain pro se motions filed by a represented party." Abdullah

v. United States, 240 F.3d 683, 686 (8th Cir. 2001); Agofsky, 20 F.3d at 872 (holding that a court

commits "no error" in refusing to rule on pro se motions raised by a represented party). Defendant

will be ordered to refrain from communicating directly with the Court and shall only communicate

with the Court through his counsel. Concerns Defendant has regarding his case should be raised

with counsel, not the Court.

       Accordingly,

       IT IS HEREBY ORDERED that Defendant James Bowen's prose Motion for Extension

of Time and Motion for Appointment of Counsel are DENIED as moot. [ECF Nos. 78 and 79]

       IT IS FURTHER ORDERED that Defendant James Bowen's pro se Motion for

Expedited Consideration of his Motion for Compassionate Release is DENIED without

prejudice. [ECF No. 83]

       IT IS FURTHER ORDRED that the response time for the government to respond to

Defendant's Supplemental Motion for Compassionate Release is modified. The United States

shall have fifteen (15) days in which to file a response to the supplemental motion.

       IT IS FURTHER ORDERED that the United States' Motion to Strike Defendant's Pro

Se Filings is DENIED. [ECF No. 85]


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       IT IS FURTHER ORDERED that Defendant James Bowen shall refrain from

communicating directly with the Court, and he shall only communicate with the Court through

counsel.

       IT IS FURTHER ORDERED that the Clerk of Court shall mail of copy of this Order to

Defendant James Bowen, No. 45684-044, Forrest City Law, Federal Correctional Institution, P.O.

Box 9000, Forrest City, AR 72336.




                                               ~~
                                                RONNIE L. WHITE
                                                UNITED STATES DISTRICT JUDGE




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Dated this   _Y_' day of February, 2021.




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